  Case 18-35437      Doc 22    Filed 05/30/19 Entered 05/31/19 06:15:38             Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                      )               BK No.:      18-35437
STEVEN D. ZARLING,                          )
                                            )               Chapter: 7
                                            )
                                                            Honorable LaShonda Hunt
                                            )
                                            )
               Debtor(s)                    )
    ORDER GRANTING SECOND MOTION OF LINDA NELSON TO EXTEND TIME TO
    OBJECT TO DISCHARGE AND DETERMINE THE DISCHARGEABILITY OF DEBT

       THIS CAUSE COMING ON TO BE HEARD on Motion by Movant, LINDA NELSON to
extend the deadline for filing a Complaint Objecting to Dischargeability of Debts Pursuant to 11 U.S.C.
§§ 523 and 727, due notice having been delivered and the Court being otherwise duly advised in the
premises:

  IT IS HEREBY ORDERED that the last day to file a Complaint Objecting to Debtor's Discharge
and/or Dischargeability under §§ 727 and 523 for Linda Nelson is extended to and including July 1,
2019.




                                                         Enter:


                                                                  Honorable LaShonda A. Hunt
Dated: May 30, 2019                                               United States Bankruptcy Judge

 Prepared by:
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